            Case 7:15-cv-00088 Document 1 Filed in TXSD on 02/27/15 Page 1 of 4


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

FREDERICK DOBBINS AND                                        §
MARIANN DOBBINS                                              §
         Plaintiff                                           §
v.                                                           §      CAUSE NO. 7:15-cv-88
                                                             §
GREAT NORTHERN INSURANCE COMPANY                             §
         Defendant                                           §

    DEFENDANT GREAT NORTHERN INSURANCE COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Great Northern Insurance Company files this Notice of Removal Pursuant to 28 U.S.C. § 1446(a)

and respectfully shows the Court the following:

                                        Procedural Background

       1.      On July 6, 2012, Plaintiffs filed their Original Petition in the matter entitled Frederick

Dobbins and Mariann Dobbins vs. Jessica Martinez, Jesus Martinez, and Great Northern Insurance

Company, Cause No. C-1981-12-I, in the 398th Judicial District Court, Hidalgo County, Texas.

Defendant Great Northern Insurance Company was served on July 17, 2012. Defendants Jessica and

Jesus Martinez are residents of Hidalgo County, Texas. Plaintiffs did not allege a maximum amount of

damages in controversy in their Original Petition.

       2.      On September 6, 2012, Plaintiffs filed their First Amended Original Petition. In the

petition, Plaintiffs alleged that “[w]hile Plaintiffs’ total damages probably exceed $1,500,000.00, in this

lawsuit Plaintiffs seek . . . the $1,000,000.00 that is the UIM coverage available under the Great

Northern policy.”

       3.      Defendants Jessica Martinez and Jesus Martinez filed their Motion to Sever and Abate on

April 11, 2013 alleging that the claims against Defendant Great Northern Insurance Company should be

severed into a new cause number and abated pending the resolutions of the claims against Defendants
            Case 7:15-cv-00088 Document 1 Filed in TXSD on 02/27/15 Page 2 of 4


Jessica Martinez and Jesus Martinez. The Motion was heard by the Court on August 23, 2013. The trial

court’s ruling on this Motion was delayed until January 29, 2015.

       4.      On January 29, 2015, the trial court granted the Motion to Sever and Abate. An Order

was issued by the 398th District Court effectively severing the lawsuit filed by Plaintiffs against

Defendant Great Northern Insurance Company into Cause No. C-1981-12-I(A) in the 398th Judicial

District Court, Hidalgo County, Texas. This new lawsuit was then abated until a judgment is entered in

Cause No.C-1981-12-I.

       5.      The 398th Judicial District Court transferred the following documents into Cause No. C-

1981-12-I(A): Plaintiffs’ Original Petition filed on July 6, 2012; Defendant Great Northern Insurance

Company’s Original Answer filed on August 6, 2012; and Plaintiffs’ First Amended Original Petition

filed on September 6, 2012; among other documents.

       6.      Defendant Great Northern Insurance Company filed this Notice of Removal within thirty

(30) days of the date of the Order severing and abating the lawsuit filed by Plaintiffs against Defendant

Great Northern Insurance Company into Cause No. C-1981-12-I(A) in the 398th Judicial District Court,

Hidalgo County, Texas.

                                              Nature of Suit

       7.      This lawsuit involves a dispute over the payment of insurance benefits to the Plaintiffs to

compensate them for personal injuries suffered by Plaintiff Frederick Dobbins arising out of an

automobile accident that occurred on July 13, 2010. Plaintiffs seek benefits from a UIM insurance

policy covering the vehicle that Plaintiff was riding in, and issued by Great Northern Insurance

Company.

                                                Diversity

       8.      Removal is proper under 28 U.S.C. § 1332 because there is complete diversity of

citizenship. Plaintiffs are citizens of Connecticut. At the time Plaintiffs filed their Original Petition in



                                                     2
               Case 7:15-cv-00088 Document 1 Filed in TXSD on 02/27/15 Page 3 of 4


Hidalgo County, Great Northern Insurance Company was, and as of the date of this Notice of Removal

remains, an Indiana entity with its principal place of business in Indiana.

                                          Amount in Controversy

          9.      This Court has diversity jurisdiction over this matter because the amount in controversy

exceeds $75,000.00 exclusive of interest and costs. Plaintiffs’ live pleading conclusively establishes that

the amount in controversy exceeds the Federal jurisdictional threshold of $75,000.00.

                                      Removal is Procedurally Correct

          10.     The causes of action asserted against Defendant Great Northern Insurance Company were

transferred into a new cause number on January 29, 2015. At the same time, the 398th Judicial District

Court transferred Plaintiffs’ First Amended Original Petition into the new cause number. This petition

served as the claim for relief on which Cause No. C-1981-12-I(A) is based. This Notice of Removal is

filed within thirty (30) days of the transfer of Plaintiffs’ First Amended Petition into Cause No. C-1981-

12-I(A) as required by 28 U.S.C. § 1446(b).

          11.     Alternatively, pursuant to 28 U.S.C. § 1446(c)(1) and/or an equitable exemption, this

Notice of removal is timely filed.

          12.     Venue is proper in this district under 28 U.S.C. § 1446(a) because this district and

division embraces the place in which the removed action is pending and because a substantial part of the

events giving rise to Plaintiffs’ claims allegedly occurred in this district and division.

          13.     Pursuant to 28 U.S.C. § 1446(a), all Pleadings, process and Orders in the State court

action are attached to this Notice.

          14.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

will be given to the Plaintiffs promptly after Defendant Great Northern Insurance Company files this

Notice.




                                                      3
             Case 7:15-cv-00088 Document 1 Filed in TXSD on 02/27/15 Page 4 of 4


           15.    Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be filed with

the District Clerk, Hidalgo County, Texas promptly after Defendant Great Northern Insurance Company

files this Notice.

           WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court remove the case to

Federal Court and for such other and further relief to which Defendant may be justly entitled, whether at

law or in equity.

                                                Respectfully submitted,

                                                ALLEN, STEIN & DURBIN P.C.
                                                6243 I.H. 10 West, 7th Floor
                                                P.O. Box 101507
                                                San Antonio, Texas 78201
                                                (210) 734-7488 (Telephone)
                                                (210) 738-8036 (Telecopier)

                                                /s/ Jennifer Gibbins Durbin
                                                ____________________________________
                                                JENNIFER GIBBINS DURBIN
                                                State Bar No. 07840500
                                                jdurbin@asdh.com


                                                CLAY W. MORGAN
                                                State Bar No. 24041526
                                                cmorgan@asdh.com

                                                ATTORNEYS FOR DEFENDANT
                                                GREAT NORTHERN INSURANCE COMPANY



                                       CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing Defendant Great
Northern Insurance Company’s Notice of Removal was electronically filed with the Clerk of the Court
using the CM/ECF System, which will send notification of such filing to the following individual(s), on
the 27th day of February, 2015.

           Mr. Stephen G. Nagle
           1002 West Avenue, First Floor
           Austin, Texas 78701

                                                /s/ Jennifer Gibbins Durbin
                                                _____________________________
                                                JENNIFER GIBBINS DURBIN
                                                CLAY W. MORGAN
#1276864

                                                      4
